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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

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&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;122&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

 

 

&lt;CENTER&gt;&lt;A NAME="3"&gt;Lashown C. Massington&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

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&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;390TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;005258&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JULIE H. KOCUREK&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

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PER CURIAM 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Appellant Lashown C. Massington pleaded guilty to possessing less than one gram 

of cocaine. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Health &amp;amp; Safety Code Ann. &nbsp;481.115 (West Supp. 2001). &nbsp;The district court 

adjudged her guilty and assessed punishment at incarceration in a state jail for twenty-two months, 

as called for in a plea bargain agreement. &nbsp;Appellant filed a general notice of appeal.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;When a defendant pleads guilty to a felony and the punishment assessed does not 

exceed that recommended by the prosecutor and agreed to by the defendant, the notice of appeal 

must state that the appeal is for a jurisdictional defect, or that the substance of the appeal was raised 

by written motion and ruled on before trial, or that the trial court granted permission to appeal. &nbsp;Tex. 

R. App. P. 25.2(b)(3). &nbsp;Appellant's notice of appeal does not comply with this rule and fails to confer 

jurisdiction on this Court. &nbsp;&lt;EM&gt;Whitt v. State&lt;/EM&gt;, No. 03-00-00194-CR (Tex. App.--Austin April 19, 2001, 

no pet.); &lt;EM&gt;see also Cooper v. State&lt;/EM&gt;, No. 1100-99, slip op. at 6-8 (Tex. Crim. App. April 4, 2001).&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;The appeal is dismissed for want of jurisdiction.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Dismissed for Want of Jurisdiction&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed: &nbsp;&nbsp;June 7, 2001&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt; 

 

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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

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&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;122&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

 

 

&lt;CENTER&gt;&lt;A NAME="3"&gt;Lashown C. Massington&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

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&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;390TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;005258&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JULIE H. KOCUREK&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt; 

 

 

PER CURIAM 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Appellant Lashown C. Massington pleaded guilty to possessing less than one gram 

of cocaine. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Health &amp;amp; Safety Code Ann. &nbsp;481.115 (West Supp. 2001). &nbsp;The district court 

adjudged her guilty and assessed punishment at incarceration in a state jail for twenty-two months, 

as called for in a plea bargain agreement. &nbsp;Appellant filed a general notice of appeal.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;When a defendant pleads guilty to a felony and the punishment assessed does not 

exceed that recommended by the prosecutor and agreed to by the defendant, the notice of appeal 

must state that the appeal is for a jurisdictional defect, or that the substance of the appeal was raised 

by written motion and ruled on before trial, or that the trial court granted permission to appeal. &nbsp;Tex. 

R. App. P. 25.2(b)(3). &nbsp;Appellant's notice of appeal does not comply with this rule and fails to confer 

jurisdiction on this Court. &nbsp;&lt;EM&gt;Whitt v. State&lt;/EM&gt;, No. 03-00-00194-CR (Tex. App.--Austin April 19, 2001, 

no pet.); &lt;EM&gt;see also Cooper v. State&lt;/EM&gt;, No. 1100-99, slip op. at 6-8 (Tex. Crim. App. April 4, 2001).&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;The appeal is dismissed for want of jurisdiction.&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Dismissed for Want of Jurisdiction&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Filed: &nbsp;&nbsp;June 7, 2001&lt;/SPAN&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-family: Times New Roman"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt; 

 

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